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                     UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF CONNECTICUT
                           BRIDGEPORT DIVISION
                                      x
                                      :
In re:                                :   CHAPTER 11
                                      :
HO WAN KWOK, et al., 1                :   CASE NO. 22-50073 (JAM)
                                      :
         Debtors.                     :   Jointly Administered
                                      x

                                      CERTIFICATE OF SERVICE

         The undersigned certifies that (i) on December 6, 2022 notice of the Court’s Order Denying

Motion to Expedite (the “Order”)(ECF No. 1203) was sent by e-mail to all parties by operation of

the Court’s electronic filing system as indicated on the attached Schedule A or (ii) on December

12, 2022 a copy of the Order was sent by United States first class mail, postage prepaid to each

creditor and party in interest listed on the attached Schedule B.

Dated: December 12, 2022                              LUC A. DESPINS,
       New Haven, Connecticut                         CHAPTER 11 TRUSTEE

                                                By:      /s/Douglas S. Skalka
                                                      Douglas S. Skalka (ct00616)
                                                      NEUBERT, PEPE & MONTEITH, P.C.
                                                      195 Church Street, 13th Floor
                                                      New Haven, Connecticut 06510
                                                      (203) 821-2000
                                                      dskalka@npmlaw.com




1
 The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles Kwok,
as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings LLC (last
four digits of tax identification number: 8202) and Genever Holdings Corporation. The mailing address for the Trustee,
Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park Avenue, New York,
NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for purposes of notices and
communications).
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                                                        Schedule A
SarE.Mowey

From:                                      CTBECF_Courtmail@ctb.uscourts.gov
Sent:                                      Tuesday, December 6, 2022 10:29 AM
To:                                        Courtmail@ctb.uscourts.gov
Subject:                                   22-50073 Order on Motion to Expedite Hearing



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parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
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free copy and 30-page limit do not apply.

                                                          U.S. Bankruptcy Court

                                                          District of Connecticut

Notice of Electronic Filing

The following transaction was received from Clerks Office zaz entered on 12/6/2022 at 10:29 AM EST and filed on
12/6/2022
Case Name:          Ho Wan Kwok and Genever Holdings Corporation and Genever Holdings LLC
Case Number:        22-50073
Document Number: 1203

Docket Text:
ORDER DENYING MOTION TO EXPEDITE. On December 5, 2022, the Chapter 11 Trustee filed an Application to Employ a
Claims Agent (the "Application," ECF No. 1198) and a Motion to Expedite Hearing on the Application (the "Motion to
Expedite," ECF No. 1199). Therefore, it is hereby
ORDERED: The Motion to Expedite is DENIED. Cause has not been established to schedule a hearing on an expedited
basis; and it is further
ORDERED: The hearing on the Application will be held on January 4, 2023, at 11:00 a.m. in the United States Bankruptcy
Court, 915 Lafayette Boulevard, Bridgeport, CT; and it further
ORDERED: Objections to the Application shall be filed by 4:00 p.m. on December 28, 2022; and it is further
ORDERED: At or before 12:00 p.m. on December 13, 2022, the Movant shall serve this Order on the Debtor, all creditors,
and parties in interest; and it is further
ORDERED: At or before 12:00 p.m. on December 14, 2022, the Movant shall file a certificate of service demonstrating
compliance with the service requirements of this Order. Signed by Judge Julie A. Manning on December 6, 2022. (zaz)

The following document(s) are associated with this transaction:



22-50073 Notice will be electronically mailed to:

Laura Aronsson on behalf of 20 Largest Creditor Pacific Alliance Asia Opportunity Fund L.P.
laronsson@omm.com
                                                                     1
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Laura Aronsson on behalf of Plaintiff Pacific Alliance Asia Opportunity Fund L.P.
laronsson@omm.com

Tristan G. Axelrod on behalf of Creditor Brown Rudnick LLP
taxelrod@brownrudnick.com

Tristan G. Axelrod on behalf of Creditor Verdolino & Lowey, P.C.
taxelrod@brownrudnick.com

William R. Baldiga on behalf of Creditor Brown Rudnick LLP
wbaldiga@brownrudnick.com

Kellianne Baranowsky on behalf of Interested Party BakerHostetler
kbaranowsky@gs-lawfirm.com, aevans@gs-lawfirm.com;kbaranowsky@ecf.courtdrive.com

Douglass E. Barron on behalf of Chapter 11 Trustee Luc A. Despins
douglassbarron@paulhastings.com

Nicholas A. Bassett on behalf of Chapter 11 Trustee Luc A. Despins
nicholasbassett@paulhastings.com,
jonathonkosciewicz@paulhastings.com;lucdespins@paulhastings.com;alexbongartz@paulhastings.com;ezrasutton@pau
lhastings.com;douglassbarron@paulhastings.com;ecf.frg@paulhastings.com;aviluft@paulhastings.com

Patrick M. Birney on behalf of 20 Largest Creditor Pacific Alliance Asia Opportunity Fund L.P.
pbirney@rc.com, ctrivigno@rc.com

Patrick M. Birney on behalf of Creditor Pacific Alliance Asia Opportunity Fund L.P.
pbirney@rc.com, ctrivigno@rc.com

Patrick M. Birney on behalf of Plaintiff Pacific Alliance Asia Opportunity Fund L.P.
pbirney@rc.com, ctrivigno@rc.com

G. Alexander Bongartz on behalf of Chapter 11 Trustee Luc A. Despins
alexbongartz@paulhastings.com

Carollynn H.G. Callari on behalf of 20 Largest Creditor Rui Ma
ccallari@callaripartners.com

Carollynn H.G. Callari on behalf of 20 Largest Creditor Weican Meng
ccallari@callaripartners.com

Carollynn H.G. Callari on behalf of Creditor Zheng Wu
ccallari@callaripartners.com

Daniel Cantor on behalf of Plaintiff Pacific Alliance Asia Opportunity Fund L.P.
dcantor@omm.com

John L. Cesaroni on behalf of Counter-Defendant HK International Funds Investments (USA) Limited, LLC
jcesaroni@zeislaw.com

John L. Cesaroni on behalf of Counter-Defendant Mei Guo

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jcesaroni@zeislaw.com

John L. Cesaroni on behalf of Debtor Ho Wan Kwok
jcesaroni@zeislaw.com

John L. Cesaroni on behalf of Defendant Ho Wan Kwok
jcesaroni@zeislaw.com

John L. Cesaroni on behalf of Defendant Ho Wan Kwok
jcesaroni@zeislaw.com

John L. Cesaroni on behalf of Interested Party HK International Funds Investments (USA) Limited, LLC
jcesaroni@zeislaw.com

John L. Cesaroni on behalf of Interested Party Mei Guo
jcesaroni@zeislaw.com

John L. Cesaroni on behalf of Plaintiff HK International Funds Investments (USA) Limited, LLC
jcesaroni@zeislaw.com

Holley L. Claiborn on behalf of U.S. Trustee U. S. Trustee
holley.l.claiborn@usdoj.gov

Samuel Bryant Davidoff on behalf of Interested Party Williams & Connolly LLP
sdavidoff@wc.com

Luc A. Despins
lucdespins@paulhastings.com, matlaskowski@paulhastings.com;davidmohamed@paulhastings.com

Luc A. Despins on behalf of Chapter 11 Trustee Luc A. Despins
lucdespins@paulhastings.com, matlaskowski@paulhastings.com;davidmohamed@paulhastings.com

David S. Forsh on behalf of 20 Largest Creditor Rui Ma
dforsh@callaripartners.com

David S. Forsh on behalf of 20 Largest Creditor Weican Meng
dforsh@callaripartners.com

David S. Forsh on behalf of Creditor Zheng Wu
dforsh@callaripartners.com

Peter Friedman on behalf of 20 Largest Creditor Pacific Alliance Asia Opportunity Fund L.P.
pfriedman@omm.com

Peter Friedman on behalf of Plaintiff Pacific Alliance Asia Opportunity Fund L.P.
pfriedman@omm.com

Taruna Garg on behalf of Creditor The Sherry-Netherland, Inc.
tgarg@murthalaw.com, mgarcia@murthalaw.com

Irve J. Goldman on behalf of Creditor Committee Official Committee of Unsecured Creditors
igoldman@pullcom.com, rmccoy@pullcom.com

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Evan S. Goldstein on behalf of Interested Party Greenwich Land, LLC
egoldstein@uks.com

Evan S. Goldstein on behalf of Interested Party Hing Chi Ngok
egoldstein@uks.com

Mia N. Gonzalez on behalf of 20 Largest Creditor Pacific Alliance Asia Opportunity Fund L.P.
mgonzalez@omm.com

Mia N. Gonzalez on behalf of Plaintiff Pacific Alliance Asia Opportunity Fund L.P.
mgonzalez@omm.com

James C. Graham on behalf of Chapter 11 Trustee Luc A. Despins
jgraham@npmlaw.com, sgibbons@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

James C. Graham on behalf of Defendant Luc A. Despins
jgraham@npmlaw.com, sgibbons@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

James C. Graham on behalf of Trustee Luc A. Despins
jgraham@npmlaw.com, sgibbons@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Lawrence S. Grossman on behalf of Interested Party BakerHostetler
LGrossman@gs-lawfirm.com, aevans@gs-lawfirm.com;ngolino@gs-
lawfirm.com;lawrencegrossman@ecf.courtdrive.com;mbuckanavage@gs-lawfirm.com;eross@gs-lawfirm.com

David V. Harbach, II on behalf of 20 Largest Creditor Pacific Alliance Asia Opportunity Fund L.P.
dharbach@omm.com

David V. Harbach, II on behalf of Plaintiff Pacific Alliance Asia Opportunity Fund L.P.
dharbach@omm.com

James J. Healy on behalf of Interested Party Williams & Connolly LLP
jhealy@cowderymurphy.com

Jeffrey Hellman on behalf of Defendant Ho Wan Kwok
jeff@jeffhellmanlaw.com, christen@jeffhellmanlaw.com

Eric A. Henzy on behalf of Debtor Ho Wan Kwok
ehenzy@zeislaw.com, cjervey@zeislaw.com

Eric A. Henzy on behalf of Defendant Ho Wan Kwok
ehenzy@zeislaw.com, cjervey@zeislaw.com

Eric A. Henzy on behalf of Defendant Ho Wan Kwok
ehenzy@zeislaw.com, cjervey@zeislaw.com

Eric A. Henzy on behalf of Interested Party HK International Funds Investments (USA) Limited, LLC
ehenzy@zeislaw.com, cjervey@zeislaw.com

Jonathan Kaplan on behalf of Creditor Committee Official Committee of Unsecured Creditors
jkaplan@pullcom.com, prulewicz@pullcom.com;rmccoy@pullcom.com

                                                              4
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Stephen M. Kindseth on behalf of Debtor Ho Wan Kwok
skindseth@zeislaw.com, cjervey@zeislaw.com

Stephen M. Kindseth on behalf of Interested Party HK International Funds Investments (USA) Limited, LLC
skindseth@zeislaw.com, cjervey@zeislaw.com

Stephen M. Kindseth on behalf of Interested Party Mei Guo
skindseth@zeislaw.com, cjervey@zeislaw.com

Nancy Bohan Kinsella on behalf of Plaintiff-Intervenor Luc A. Despins
nkinsella@npmlaw.com, moshea@npmlaw.com;smowery@npmlaw.com;npm.bankruptcy@gmail.com

Andrew V. Layden on behalf of Interested Party BakerHostetler
alayden@bakerlaw.com

Patrick R. Linsey on behalf of Chapter 11 Trustee Luc A. Despins
plinsey@npmlaw.com, karguello@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Patrick R. Linsey on behalf of Counter-Claimant Luc A. Despins
plinsey@npmlaw.com, karguello@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Patrick R. Linsey on behalf of Debtor Genever Holdings Corporation
plinsey@npmlaw.com, karguello@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Patrick R. Linsey on behalf of Defendant Luc A. Despins
plinsey@npmlaw.com, karguello@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Patrick R. Linsey on behalf of Plaintiff Luc A. Despins
plinsey@npmlaw.com, karguello@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Patrick R. Linsey on behalf of Plaintiff-Intervenor Luc A. Despins
plinsey@npmlaw.com, karguello@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Patrick R. Linsey on behalf of Trustee Luc A. Despins
plinsey@npmlaw.com, karguello@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Avram Emmanuel Luft on behalf of Chapter 11 Trustee Luc A. Despins
aviluft@paulhastings.com

Kristin B. Mayhew on behalf of 20 Largest Creditor Rui Ma
kmayhew@pullcom.com, kwarshauer@mdmc-law.com;bdangelo@mdmc-law.com

Kristin B. Mayhew on behalf of 20 Largest Creditor Weican Meng
kmayhew@pullcom.com, kwarshauer@mdmc-law.com;bdangelo@mdmc-law.com

Kristin B. Mayhew on behalf of Creditor Committee Official Committee of Unsecured Creditors
kmayhew@pullcom.com, kwarshauer@mdmc-law.com;bdangelo@mdmc-law.com

Kristin B. Mayhew on behalf of Creditor Zheng Wu
kmayhew@pullcom.com, kwarshauer@mdmc-law.com;bdangelo@mdmc-law.com


                                                            5
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Kristin B. Mayhew on behalf of Plaintiff Boxun Inc.
kmayhew@pullcom.com, kwarshauer@mdmc-law.com;bdangelo@mdmc-law.com

Kristin B. Mayhew on behalf of Plaintiff Rui Ma
kmayhew@pullcom.com, kwarshauer@mdmc-law.com;bdangelo@mdmc-law.com

Kristin B. Mayhew on behalf of Plaintiff Weican (Watson) Meng
kmayhew@pullcom.com, kwarshauer@mdmc-law.com;bdangelo@mdmc-law.com

Kristin B. Mayhew on behalf of Plaintiff Yang Lan
kmayhew@pullcom.com, kwarshauer@mdmc-law.com;bdangelo@mdmc-law.com

Kristin B. Mayhew on behalf of Plaintiff Zheng Wu
kmayhew@pullcom.com, kwarshauer@mdmc-law.com;bdangelo@mdmc-law.com

Danielle L. Merola on behalf of Interested Party BakerHostetler
dmerola@bakerlaw.com

Sherry J. Millman on behalf of Creditor The Sherry-Netherland, Inc.
smillman@stroock.com

Aaron A Mitchell on behalf of Debtor Ho Wan Kwok
aaron@lmesq.com

James M. Moriarty on behalf of Counter-Defendant HK International Funds Investments (USA) Limited, LLC
jmoriarty@zeislaw.com, kjoseph@zeislaw.com

James M. Moriarty on behalf of Counter-Defendant Mei Guo
jmoriarty@zeislaw.com, kjoseph@zeislaw.com

James M. Moriarty on behalf of Debtor Ho Wan Kwok
jmoriarty@zeislaw.com, kjoseph@zeislaw.com

James M. Moriarty on behalf of Defendant Ho Wan Kwok
jmoriarty@zeislaw.com, kjoseph@zeislaw.com

James M. Moriarty on behalf of Defendant Ho Wan Kwok
jmoriarty@zeislaw.com, kjoseph@zeislaw.com

James M. Moriarty on behalf of Interested Party HK International Funds Investments (USA) Limited, LLC
jmoriarty@zeislaw.com, kjoseph@zeislaw.com

James M. Moriarty on behalf of Interested Party Mei Guo
jmoriarty@zeislaw.com, kjoseph@zeislaw.com

James M. Moriarty on behalf of Plaintiff HK International Funds Investments (USA) Limited, LLC
jmoriarty@zeislaw.com, kjoseph@zeislaw.com

Sara Pahlavan on behalf of 20 Largest Creditor Pacific Alliance Asia Opportunity Fund L.P.
spahlavan@omm.com

Patrick N. Petrocelli on behalf of Creditor The Sherry-Netherland, Inc.

                                                             6
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ppetrocelli@stroock.com

Lucas Bennett Rocklin on behalf of Chapter 11 Trustee Luc A. Despins
lrocklin@npmlaw.com, NeubertPepeMonteithPC@jubileebk.net

Aaron Romney on behalf of Counter-Defendant HK International Funds Investments (USA) Limited, LLC
aromney@zeislaw.com, swenthen@zeislaw.com

Aaron Romney on behalf of Counter-Defendant Mei Guo
aromney@zeislaw.com, swenthen@zeislaw.com

Aaron Romney on behalf of Debtor Ho Wan Kwok
aromney@zeislaw.com, swenthen@zeislaw.com

Aaron Romney on behalf of Defendant Ho Wan Kwok
aromney@zeislaw.com, swenthen@zeislaw.com

Aaron Romney on behalf of Defendant Ho Wan Kwok
aromney@zeislaw.com, swenthen@zeislaw.com

Aaron Romney on behalf of Interested Party HK International Funds Investments (USA) Limited, LLC
aromney@zeislaw.com, swenthen@zeislaw.com

Aaron Romney on behalf of Interested Party Mei Guo
aromney@zeislaw.com, swenthen@zeislaw.com

Aaron Romney on behalf of Plaintiff HK International Funds Investments (USA) Limited, LLC
aromney@zeislaw.com, swenthen@zeislaw.com

Scott D. Rosen on behalf of Attorney Cohn Birnbaum & Shea, P.C.
srosen@cb-shea.com, msullivan@cbshealaw.com;dtempera@cbshealaw.com

Thomas J. Sansone on behalf of Attorney Michael S. Weinstein
tsansone@carmodylaw.com

Thomas J. Sansone on behalf of Creditor Chong Shen Raphanella
tsansone@carmodylaw.com

Thomas J. Sansone on behalf of Creditor Rong Zhang
tsansone@carmodylaw.com

Thomas J. Sansone on behalf of Creditor Xiaodan Wang
tsansone@carmodylaw.com

Thomas J. Sansone on behalf of Plaintiff Chong Shen Raphanella
tsansone@carmodylaw.com

Thomas J. Sansone on behalf of Plaintiff Rong Zhang
tsansone@carmodylaw.com

Thomas J. Sansone on behalf of Plaintiff Xiaodan Wang
tsansone@carmodylaw.com

                                                          7
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Stuart M. Sarnoff on behalf of 20 Largest Creditor Pacific Alliance Asia Opportunity Fund L.P.
ssarnoff@omm.com, stuart-sarnoff-1059@ecf.pacerpro.com

Stuart M. Sarnoff on behalf of Plaintiff Pacific Alliance Asia Opportunity Fund L.P.
ssarnoff@omm.com, stuart-sarnoff-1059@ecf.pacerpro.com

Douglas S. Skalka on behalf of Chapter 11 Trustee Luc A. Despins
dskalka@npmlaw.com, smowery@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Douglas S. Skalka on behalf of Counter-Claimant Luc A. Despins
dskalka@npmlaw.com, smowery@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Douglas S. Skalka on behalf of Debtor Genever Holdings Corporation
dskalka@npmlaw.com, smowery@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Douglas S. Skalka on behalf of Debtor Genever Holdings LLC
dskalka@npmlaw.com, smowery@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Douglas S. Skalka on behalf of Defendant Luc A. Despins
dskalka@npmlaw.com, smowery@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Douglas S. Skalka on behalf of Plaintiff-Intervenor Luc A. Despins
dskalka@npmlaw.com, smowery@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Jeffrey M. Sklarz on behalf of Interested Party BakerHostetler
jsklarz@gs-lawfirm.com, aevans@gs-lawfirm.com;mbuckanavage@gs-lawfirm.com;eross@gs-
lawfirm.com;jsklarz@ecf.courtdrive.com

Annecca H. Smith on behalf of 20 Largest Creditor Pacific Alliance Asia Opportunity Fund L.P.
asmith@rc.com

Annecca H. Smith on behalf of Plaintiff Pacific Alliance Asia Opportunity Fund L.P.
asmith@rc.com

John Troy on behalf of Interested Party Troy Law, PLLC
johntroy@troypllc.com

Tiffany Troy on behalf of Creditor Troy Law, PLLC
tiffanytroy@troypllc.com, troylaw@troypllc.com

U. S. Trustee
USTPRegion02.NH.ECF@USDOJ.GOV

Michael S. Weinstein on behalf of Creditor Chong Shen Raphanella
mweinstein@golenbock.com

Michael S. Weinstein on behalf of Creditor Rong Zhang
mweinstein@golenbock.com

Michael S. Weinstein on behalf of Creditor Xiaodan Wang
mweinstein@golenbock.com

                                                              8
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Jay Marshall Wolman on behalf of Creditor Logan Cheng
jmw@randazza.com, ecf-6898@ecf.pacerpro.com

Jay Marshall Wolman on behalf of Plaintiff Logan Cheng
jmw@randazza.com, ecf-6898@ecf.pacerpro.com

Peter J. Zarella on behalf of 20 Largest Creditor Rui Ma
pzarella@mdmc-law.com

Peter J. Zarella on behalf of 20 Largest Creditor Weican Meng
pzarella@mdmc-law.com

Peter J. Zarella on behalf of Creditor Zheng Wu
pzarella@mdmc-law.com




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